Case 9:17-bk-10086-FI\/|D Doc 14 Filed 01/09/18 Page 1 of 2

United States Bankruptcy Court
Middlc District of Florida

Gary Gissiner
[|1 |'t.` Charmaine R Gissiner Cilb`\.` NU. 17-bk-10086

 

 

Dchtcr(>‘} C haptcr 7

 

CERTIFICATE OF SERVICE

l hereby certify that on .Ianuary 9, 2018, a copy of`Amcnded Statcmcnt of Intcntions were Served
electronically or by regular Unitcd Statcs mail 10 all interested parties in the Court's mailing matrix attached
ltcrcto.

1,]\/\\ bk -

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Attorney for Debtors

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CaSe 9217-bk-10086-F|\/|D DOC 14 Filed 01/09/18

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113A-9

Case 9:11-bk-10086-EMD

Middle District of Florida

Ft. Myers

Tue Jan 9 14:58:40 EST 2013

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Page 2 of 2

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The preferred mailing address {p} above has been substituted for the following entity{entities as so specified
by said entityfentities in a Notice of Address filed pursuant to 11 U.S.C. 342{§] and Eed.R.Bank.P. 2002 lg}[d}.

Discover Card
PO BOX 30395
Salt Lake City, UT 04130

End of Label Matrix

Mailable recipients 20
Bypassed recipients 0
Total 20

